SAO 154 (10/03) Substitution of Attomey

 
 

 

 

UNITED Seas Beret Cauds

 

 

 

 

Northern District of California
Unted States of America CONSENT ORDER GRANTING
Plaintiff (s), SUBSTITUTION OF ATTORNEY
v.
Nima Fazeli CASE NUMBER:  3:20-mj-71049 MAG
samen cae te cia
Defendant (s),
Notice is hereby given that, subject to approval by the court, _ Nima Fazeli substitutes
(Pasty (s) Name)
Martin A. Sabelli , State Bar No. _CA 164772 as counsel of record in
(Name of New Attorney}

place of _Jonathyn Lynn, Wallin & Kralich
(Name of Attomey (s) Withdrawing Appearance)

Contact information for new counsel is as follows:

 

 

Firm Name: Martin Sabelli
Address: 740 Noe Street
Telephone: (415) 298-8435 Facsimile

 

 

E-Mail (Optional): _msabelli@sabellilaw.com

I consent to the 1/7] a a a

Date: | | SF UH A
- Zmenosure oT¥ an arty (s))
| consent to being substituted. ,

Date: [t 12/36

 

 

mf mer Attorney (5)

I consent to the above,substitution.

Date: \\ li ao

 

 

 

/ ” °Sipnantire of New Attomey}
The substitution of attorney is hereby approved and so ORDERED.

Date:

 

 

Judge ,

[Note: A separate consent order of substitution must be filed by each new attorney wishing to enter an appearance.|
